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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                  :
                                          :
               v.                         :       Case No. 21-CR-382 (PLF)
                                          :
CHRISTOPHER WARNAGRIS,                    :
                                          :
                     Defendant.           :


                       NOTICE OF ATTORNEY APPEARANCE


      The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, informs the Court that Assistant United States Attorney (AUSA)

Rebekah Lederer will appear, in the above captioned case, as co-counsel on behalf of the

government along with AUSA Jennifer Rozzoni.


                                               Respectfully submitted,

                                               MATTHEW M. GRAVES
                                               United States Attorney
                                               DC Bar No. 481052

                                               Jennifer Rozzoni
                                               NM Bar No. 14703
                                               Assistant United States Attorney (Detailee)

                                         By:    /s/ REBEKAH LEDERER
                                                Rebekah Lederer
                                                Pennsylvania Bar No. 320922
                                                Assistant United States Attorney
                                                U.S Attorney’s Office for District of Columbia
                                                601 D St. N.W, Washington, DC 20530
                                                Tel. No. (202) 252-7012
                                                Email: rebekah.lederer@usdoj.gov
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                                CERTIFICATE OF SERVICE

      On this 22nd day of November 2022, a copy of the foregoing was served upon all parties

listed on the Electronic Case Filing (ECF) System.



                                            /s/ REBEKAH LEDERER
